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                                                                   Court File No: 09-CL-7950

                                          ONTARIO
                             SUPERIOR COURT OF JUSTICE
                                 (COMMERCIAL LIST)

          THE HONOURABLE MR,                    )    TUESDAY, THE 19th DAY OF
          JUSTICE MORAWETZ                      )    NOVEMBER, 2013
              • '                               )
                     :                        : )                      :




      IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                      R.S,C. 1985, c. C-36, AS AMENDED

  AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
 NORTEL NETWORKS CORPORATION, NORTEL NETWORICS LIMITED, NORTEL
 NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL
   CORPORATION AND NORTEL NETWORICS TECHNOLOGY CORPORATION

    APPLICATION UNDER THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                    R.S.C. 1985, c. C-36, AS AMENDED


                                        ORDER
            (Amendments to Litigation Timetable, Discovery Plan and Deposition
                                        Protocol)


        THIS MOTION, made by Nortel Networks Corporation, Nortel Networks Limited,

Nortel Networks Technology Corporation, Nortel Networks Global Coiporation and Nortel

Networks International Corporation (collectively, the "Canadian Debtors") jointly with Ernst &

Young Inc. in its capacity as monitor (the "Monitor") of the Canadian Debtors, the U.S.

Debtors, Committee, the EMEA Debtors/ Joint Administrators, the UK Pension Claimants and

the CCC (all as defined in the Allocation Protocol (as defined in Schedule A hereto) and

collectively, the "Moving Parties") for the relief set out in the Notice of Motion dated

November 14,2013 was heard this day at 393 University Avenue, Toronto,,Ontario,




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         ON READING the one-hundredth report of the Monitor dated November 14, 2013, and

on hearing submissions of counsel for the Moving Parties and the objection of the ad hoc

bondholder group, no one appearing for any other person on the service list, although served as

appeal's from the Affidavit of Service of KiranDhillon sworn November 14, 2013, filed.


X       THIS COURT ORDERS that the time for the service of the Notice of Motion and the

Motion Record is hereby abridged and validated so that this Motion is properly returnable today

and hereby dispenses with further service thereof.


2.      THIS COURT ORDERS that capitalized terms used herein and not otherwise defined

have the meaning given to them in Schedule A hereto.


3.      THIS COURT ORDERS that the terms of amendment set out in Schedule A hereto are

hereby approved and the Allocation Protocol, the Litigation Timetable, the Discovery Plan and

the Deposition Protocol be and they are hereby amended in accordance with such terms,


4.      THIS COURT ORDERS that the parties shall be permitted to adjust interim deadlines in

the time table in accordance with the following procedures:


            a. The Moving Parties shall meet and confer to determine whether further

                 adjustments to the time table should be made and may upon unanimous agreement

                 (subject to sub-paragraph (c) below), without further Order of the Court(s),

                propose amendments to the timetable provided that such dates shall not impact the

                 Court ordered commencement date of the Trial;


            b. Any objections by Core Parties to any proposed amendments shall be made within

                two (2) Business Days of such proposal being made to them in writing; and



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            c. All objections shall be resolved through a meet and confer among all the Moving

                Parties (or designated members) and the objector(s) within two (2) Business Days,

                failing whichj the objector must seek relief from the Court(s) within two (2)

                Business Days thereafter (by letter). Absent relief fi'om the Court(s)5 any changes

                to the time table proposed by the Moving Parties shall be effective,


MISCELLANEOUS                                                          '


5.      THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

regulatory or administrative body having jurisdiction in Canada, the United States, the United

Kingdom or elsewhere, to give effect to this Order and to assist the Applicants, the Monitor and

their respective agents in carrying out the terms of this Order, All courts, tribunals, regulatory

and administrative bodies are hereby respectfully requested to make such orders and to provide

such assistance to the Applicants and to the Monitor, as an officer of this Court, as may be

necessary or desirable to give effect to this Order, to grant representative status to the Monitor in

any foreign proceeding, or to assist the Applicants and the Monitor and their respective agents in

carrying out the terms of this Order,


6,      THIS COURT ORDERS that each of the Applicants and the Monitor be at liberty and are

hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative

body, wherever located, for the recognition of this Order and for assistance in carrying out the

terms of this Order,                                                       ......




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                               SCHEDULE A
                                 Attached,




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                             SCHEDULE "A" -AMENP3VIENT TERMS

Capitalized terms used herein and not otherwise defined have the meaning given to them in (i)
the allocation procedure protocol approved by the Ontario Superior Court of Justice and the
United States Bankruptcy Court for the District of Delaware (the "Courts'') in Orders dated on
or about April 3, 2013 and May 16, 2013, respectively (as amended and restated, the "Allocation
Protocol"), (ii) the litigation timetable and discovery plan approved by the Courts in Orders
dated on or about May 16, 2013 and as amended by Orders of the Courts dated on or about
August 27, 2013 (as amended, the "Litigation Timetable and Discovery Plan"), and (iii) the
Deposition Protocol as approved by the Courts in Orders dated on or about August 27, 2013 and
as amended by Orders dated on or about September 20, 2013 and September 25, 2013 (as
amended, the "Deposition Protocol") as applicable,

1,          The Allocation Protocol, Litigation Timetable and Discovery Plan and the Deposition
            Protocol are modified as follows:

 Deadline                                                         Former Date              Revised Date

 Deadline to complete witness depositions other than December 13,                          December 13,
 third party depositions (i.e., those other than current 2013                              20131
 or former employees or directors of a Core Party) and
 Representative Witness depositions            '

 Deadline for each Deposition Group to serve 10 business days                             5pm (EST)
 Representative Witness subjects in accordance with prior to the                          December 13,
 paragraph G(1) (a) of the Deposition Protocol      commencement of                       2013 other than
                                                    Representative                        with respect to
                                                    Witness                               topics relating to
                                                    depositions                           NNSA which
                                                                                          shall be delivered
                                                                                          no later than 5pm
                                                                                          (EST) on
                                                                                          December 17,
                                                                                          2013

 Identification of Representative Witnesses by each 5 business days                       5pm (EST) on
 Core Party required to produce a Representative prior to the                             December 18,
 Witness                                            commencement of                       2013
                                                    Representative
                                                    Witness


1 The parties shall be permitted to extend this date to December 18, 2013 with unanimous approval of the

Scheduling Committee to the extent irreconcilable conflicts prevent a witness from being scheduled by December
13, 2013 provided however, except for good cause shown, that such extension shall not impact any other deadlines
or dates in the timetable including the deadlines for noticing with respect to topics for and the scheduling of
Representative Witness Depositions.



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  Deadline                                               Former Date             Revised Date

                                                         depositions

  Deadline for objections to Representative Witness Three business               5pm (EST) on
  subjects in accordance with paragraph G(l)(a) of the days after service        December 18,
  Deposition Protocol          ,                       of the subjects           2013

  Meet and confer of the Scheduling Committee to NA                          '   December 19,
  schedule Representative Witness Depositions                                    2013 and/or
                                                                                 December 20,
                                                                                 2013

 Meet and confer regarding any objections on             Within two              December 20,
 Representative Witness deposition subjects in           business days of        2013
 accordance with paragraph G(l)(a) of the Deposition     service of the
 Protocol                                                objections

 Deadline to identify experts and the subject matter of November 27,             January 8, 2014
 their reports                           1:     ,       2013

 Representative Witness depositions                     December 13,             January 8, 2014 to
                                                        2013                     January 17, 2014

 Deadline for service of expert reports                 December 20,             January 24, 2014
                                                        2013

 Meet and confer to discuss foreign law experts         NA     .                 No later than
                                                                                 January 31, 2014

 Deadline for Discovery Groups to provide list of NA                             5pm (EST) on
 available dates of their experts to the Scheduling                              January 31, 2014
 Committee

 Deadline to complete third party depositions           Due date of              February 28,2014
                                                        rebuttal expert          (Solely for
                                                        reports                  witnesses for
                                                                                 whom process
                                                                                 was started by
                                                                                 Sept 30, 2013
                                                                                 and except for
                                                                                 good cause shown
                                                                                 as per the current
                                                                                 order)

 Deadline for service of rebuttal expert reports        January 24, 2014         February 28, 2014



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  Deadline                                                        Former Date            Revised Date

  Preliminary pre-trial conference                                Week of February       January 29, 2014
                                                                  17, 2014

  Expert depositions                                              February 28, 2014      March 17, 2014 to
                                                                                         April 4, 2014

  Deadline to file a list of all witnesses and exhibits March 6, 2014                    April 10, 2014
  Inal efctcii L-ore iraity mtenas to reiy upon as part oi its
  direct case

  Deadline to file:                                               March 14, 2014        April 17,2014 for
                                                                                        service with filing
         •    Pre-trial motions                                                         on the following
                                                                                        business day
         •    Pre-trial briefs

         •    All fact affidavits to be used in direct case

         •    All exhibits to be used in direct case

         •    All deposition testimony to be used in direct
              case

 Pre-trial conference                                             Week of March         Between April 21
                                                                  17, 2014 (if the      and April 28,
                                                                  Courts desire)        2014

 Beginning of Trial                                              April 1, 2014          Beginning on
                                                                                        May 12, 2014 and
                                                                                        continuing for 19
                                                                                        trial days
                                                                                        thereafter




2,           Fact Witness Depositions

                a. Third Party Witnesses.
     I                                                                                                    •

                         i. Notwithstanding any prior orders, absent good cause shown to the
                             Court(s), no Core Parties shall provide any further notices to third parties
                            for production of documents and/or depositions (other than those currently
                            disclosed to the Scheduling Committee),

     •                                                 3 ' ''                                       ..
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                          ii, Provided that appropriate judicial process to compel the production of
                              documents or testimony from third parties was issued or commenced on or
                      •       before September 30, 2013, or currently disclosed to the Scheduling
                              Committee, the production of documents from such third parties and/or
                             the depositions of such third party witnesses may be completed after the
                              deadline for fact witness depositions, but must be completed by no later
                  .          than February 28, 2014, except for good cause shown and by agreement of
                             the Core Parties or order(s) of the Court(s).

3.          Representative Witness Examinations.

               a. The Deposition Protocol is hereby amended as follows:

                          i. The second sentence of paragraph G(l )(a) is amended as foll ows;

                             "At least ten business days before the commencement of Representative
                             Depositions" is hereby deleted and replaced with the words "On or before
                             5pm (EST) on December 13, 2013 (other than with respect to NNSA for
                             which the deadline shall be December 17, 2013)"

                          ii. The fourth sentence of paragraph G(l)(a) is amended as follows:

                             "objections shall be served within three business days" is hereby deleted
                             and replaced with the words "objections shall be served no later than 5pm
                             (EST) on December 18, 2013"

                      iii. The fifth sentence of paragraph G(l)(a) is amended as follows:

                             "applicable parties shall meet and confer in go od faith within two business
                             davs thereafter on or about December 20. 2013 and, failing agreement, the
                             burden shall be on the noticing party to obtain judicial relief at least two
                             business days (in order to enable preparation) prior to the Representative
                             Deposition"

               b. On or before 5pm (EST) December 18, 2013, each Core Party that is required to


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                  produce a Representative Witness under the Deposition Protocol shall identify
                   their Representative Witness(es) and provide the Scheduling Committee with a
                   list of all available deposition dates of their Representative Witness(es) for the
                  period January 8,2014 to January 17, 2014.

               c. Representative Witness examinations will take place in accordance with the
                  Deposition Protocol and will be scheduled between January 8, 2014 and January
                  17, 2014 to take place in New York or Toronto,

               d. Each Core Party that is required to produce a Representative Witness under the
                  Deposition Protocol will ensure that its Representative Witness can be produced
                  on several pairs of days for the period January 8, 2014 to January 17, 2014,

               e. The Deposition Groups will meet and confer during the week of December 16,
                  2013 to attempt to resolve any remaining disputes with respect to the
                  Representative Witness depositions,

4,          Expert Witness Examinations.

               a. Expert witness examinations will take place between March 17, 2014 and April 4,
                  2014 in Npw York and Toronto,

               b, Each Discovery Group will ensure that their expert witnesses can be produced for
                  examination in either New York or Toronto on several days between March 17,
                  2014 and April 4, 2014 and, unless excused by the Scheduling Committee or the
                  Courts, at a minimum                        '

                      i,   each expert shall be required to offer at least 5 days on which they are
                           available for deposition,

                     ii, the deposition dates offered by the experts must be spread over at 1 east
                           two of the weeks; and

                     iii, eph Discovery Group must offer enough availability so that its experts'
                           depositions can be scheduled equally over the three weeks of expert


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                             depositions.

                  c. On or before 5pm (EST) January 31, 2014, each Discovery Group shall provide
                     the Scheduling Committee with all available deposition dates of their experts for
                     the period March 17, 2014 to April 4, 2014,

                 d, The Core Parties shall meet and confer no later than January 31, 2014 to attempt
                     to reach agreement on the necessity of the examination of foreign law experts for
                     deposition and trial,

5,          Trial Logistics

                 a. The Gore Parties shall meet and confer as soon as possible (but in any event no
                     later than the week of December 16, 2013) with a view to attempting to reach
                     consensus with respect to a proposal for the conduct of the trial, including the

                         i, material to be served/filed on April 10, 2014 and April 17, 2014;

                        ii, the feasibility of providing the Courts with a statement of agreed facts; and

                       iii, proposed length of the trial,

                 b. On or before January 20, 2014, the US Debtors, Canadian Debtors/Monitor, the
                    EMEA Debtors and the UK Pension Claimants shall submit (either jointly or
                    separately) their proposals for the conduct of the trial to the Courts, Other Core
                    Parties shall be entitled to file their own proposal on or before January 20, 2014
                    or, alternatively, they may file a joinder to indicate support of one or more of the
                    proposals on or before January 27,2014,

6.          Miscellaneous

                 a. Other than as expressly modified herein, all other terms, dates, provisions in the
                    Allocation Protocol, Litigation Timetable, Discovery Plan and all amendments
            ,       thereto remain in full force and effect,




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  m THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF NORTEL                                         Court File No: 09-CL-7950
 NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL NETWORKS
GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL CORPORATION AND
            NORTEL NETWORKS TECHNOLOGY CORPORATION
                                                                                                 ONTARIO
                                                                                      SUPERIOR COURT OF JUSTICE
                                                                                       Proceeding commenced at Toronto


                                                                                                  ORDER
                                                                               (Amendments to Litigation Timetable, Discovery
                                                                                      Plan and Deposition Protocol)


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